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IN THE UNITED sTATEs DisTRiCT COURT l _
FOR THE WESTERN DISTRICT oF TENNESSEE 05 )~=.PR 20 PH di b _

WESTERN DIVISION
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CLET\ \J. v BI_

W. D OF TN M.EMPH|S
JIMMYRICO PIGRAM, by and through his next

friend (rnother), Linda Pigram; and
LINDA PIGRAM

Plaintiffs,
VS.
NO. 04-2282-]3\/

MEMPHIS CITY SCHOOLS, MEMPHIS
POLICE DEPARTMENT, OFFICER R.
CHAUDOIN, and other individually unnamed
officers With the Memphis Police Department,

Defendants.

 

ORDER OF DISMISSAL

 

Pursuant to the Plaintift"s entry of a Stipulation of Dismissal, it is hereby ORDERED
AIUDGED and DECREED that the Memphis City Schools is dismissed from the above

referenced lawsuit as a defendant with prejudice

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CV-02282 Was distributed by faX, mail, or direct printing on
April 2l , 2005 to the parties listed.

 

 

Henry L. Klein

APPERSON CRUl\/[P & MAXWELL, PLC
6000 Poplar Ave.

Ste. 400

l\/lemphis7 TN 38119--397

l\/lichael R. Marshall

STOKES BARTHOLOl\/[EW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

l\/lemphis7 TN 38120

William T. Winchester

THE LAW OFFICES OF WlLLIAl\/l T. WlNCHESTER
2600 Poplar Ave.

Ste. 507

l\/lemphis7 TN 381 l2

Timothy P. Taylor

GODWIN MORRIS LAURENZI & BLOOl\/IFIELD, P.C.
50 N. Front St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

